          Case 4:21-cv-03306 Document 13 Filed on 07/10/23 in TXSD Page 1 of 11




                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION



     SAFETY VISION, LLC                                    §
          Plaintiff,                                       §
                                                           §
     v.                                                    § CIVIL ACTION NO. 4:21-cv-03306
                                                           §
     LEI TECHNOLOGY CANADA AND                             §
     LANNER ELECTRONICS, INC.                              §
           Defendants.                                     §



                          PLAINTIFF SAFETY VISION’S EXPEDITED
              MOTION TO COMPEL DEFENDANT TO PRODUCE DOCUMENTS



           Plaintiff, SAFETY VISION, LLC (“SAFETY VISION”, “SV” or “Plaintiff”) pursuant to

Fed R. Civ. P. 37(a), moves the Court to order Defendant, LEI TECHNOLOGY CANADA (“LEI

”), within 5 business days, to produce the documents to Plaintiff that have been withheld by LEI.

This motion is primarily about internal emails by, between and among Defendants LEI and Lanner

Electronic, Inc., LEI’s parent company1 that have not been produced.

                                                           I.

                         SUMMARY OF MOTION AND RELIEF REQUESTED

1.         SV states as follows:

      a) On the eve of the discovery cut-off date of June 12, 2023, several months following SV’s

           Request for Production, LEI “supplementally” produced documents on May 30, 2023


1
  The ODM Agreement dated January 12, 2016 recital on page 1 says: “LEI, through its parent company, Lanner
Electronics, Inc. desires to design, manufacture and sell embedded computer systems…” see. Doc.1-2. ../CM ECF
filings/1-2.pdf


                                                       1
      Case 4:21-cv-03306 Document 13 Filed on 07/10/23 in TXSD Page 2 of 11




         primarily consisting of emails2. The total volume was 9,468 documents, approximately

         66,576 pages, comprising about 2.8 GB of electronic data. Despite this large volume,

         there were virtually no internal emails produced between Defendants LEI and its parent

         company, Lanner Electronics, Inc. In fact, only 4 internal emails were produced between

         Defendants dated August 3, 2018, January 8, 2020 and January 9, 2020. Copies of said

         internal emails are attached hereto as Exhibit A.

     b) This paucity of internal emails was grossly disproportioned to the production of the

         number of emails between SV and LEI/Lanner between 2016 and 2020. For example,

         without a Request for Production from Defendant, Plaintiff originally produced 1,1179

         documents3, largely consisting of emails between Plaintiff and LEI/Lanner.

     c) Thereafter, On or about February 2, 2022. Defendant originally produced bate stamp LEI

         0001-00279 consisting of only a handful of emails, marked bate stamp LEI 00076-00087;

         00090. On or about May 31, 2023, LEI produced Supplemental docs (without bate stamp

         nos., and largely in native format).

2.       This May 30, 2023 document production came very late (more than 180 days after the

Response to the Request for Production was filed) yet the promise was repeatedly made that a

supplemental production was forthcoming4 and would occur before the unconfirmed delayed

deposition dates. For example, a May 20 email from opposing counsel reiterated: “As we

discussed, I am working with my clients in Taiwan to provide you with additional documents. I

hope to have those to you by the end of the week. I am also working to confirm depositions as




2
  Produced in native format without bate stamp or other identification.
3
  SV bate stamp nos. SV LEI 1-1179.
4
  LEI ’s initial response said “Defendant continues to search for any additional documents”.


                                                         2
     Case 4:21-cv-03306 Document 13 Filed on 07/10/23 in TXSD Page 3 of 11




requested. See attached emails5 Exhibit B.

3.      In conferences and emails, Defendant simply says it has produced all the documents. It

has not. Common sense dictates6 there are more than 4 internal emails in the 5-year period of the

relationship beginning with the ODM Agreement in January 2016 and ending in June 2021 when

the lawsuit was filed. The missing emails are believed to show that Lanner and LEI were

internally sharing information about the ongoing failures and deciding how and when to address

those failures with SV (if at all), including the causes of those failures in terms of its own design,

manufacturing and production. An example is the heat tray defect that resulted in Lanner

suggesting a short term solution (rubber handles and mylar protection from the unaccountable

extreme heat) and long term solution (none--because as Lanner reported of the “current

mechanical architecture” of the Product Lanner designed). See LEI Bate Stamp no. 155-167 a

copy of which is attached hereto as Exhibit D. These internal conversations in the form of emails

will likely reveal Lanner’s awareness and knowledge of the reasons for repeated product failures

and the decision to take no action such as root cause analysis.

4.      LEI Technology Canada (now known as Lanner Canada) is a Canadian business entity

with offices in Mississauga, Ontario, Canada. Lanner Electronics, Inc., the parent company, is a

Taiwanese electronics manufacturer specializing in network appliances, listed on the Taiwan

exchange (TAIEX 6245)7 with principal offices in Taipei, Taiwan and other offices and locations

in the USA, Canada, Europe and China. Neither party (and their employees or former employees)

is amenable to traditional means of discovery, and understandably the attorney for Defendant

LEI has indicated some difficulty (both language and distance variables) collecting data,


5
  Email exchanges dated May 3, May 17, May 20, and May 24,2023.
6
  See, Exhibit C emails attached hereto.
7
  https://www.lannerinc.com/


                                                    3
      Case 4:21-cv-03306 Document 13 Filed on 07/10/23 in TXSD Page 4 of 11




witnesses (most of whom are no longer employed by Defendant LEI), and confirmation of

deposition dates, as explained to the undersigned several times in phone calls and emails.

                                                          II.

                                            LAWSUIT SUMMARY

5.      Plaintiff contends:

        This case is about non-conforming and ongoing failures of mobile network video

equipment sold by LEI to Plaintiff who in turn sold to its various customers in the mobile mass

transit industry. Plaintiff alleges a breach of contract against Defendants8 arising from repeated

and ongoing failures of “computer embedded” hardware and custom ODM equipment designed,

engineered, and manufactured by Defendants. Plaintiff brought suit in June 2021 following several

product failure notices to LEI, including the last one dated March 11, 2021.9 ../CM ECF filings/1-

3.pdf

6.      Defendant contends:

        Defendant LEI denies the equipment at issue is defective in its design, engineering or

manufacturing. Defendant has also filed a counterclaim for breach of contract and demanded

payment for an alleged balance of $244,928.

                                                         III.

                                          PROCEDURAL HISTORY
                                            AND BACKGROUND

7.      On June 14, 2021, Plaintiff filed its Original Petition, (hereinafter the “Complaint”) in the

165th Harris County District Court in cause no. 2021-35665. (Doc. 1-1).




8
  Including Defendant Lanner Electronics, Inc. who was served via the Texas Secretary of State but has not replied.
See Doc. 1-4.
9
  See. Doc. 1-3


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        Case 4:21-cv-03306 Document 13 Filed on 07/10/23 in TXSD Page 5 of 11




8.         On October 4, 2021, Defendant/Counter Plaintiff LEI filed its Original Answer and

Counterclaim. Defendant Lanner Electronics, Inc. did not and has not filed an answer or otherwise

responded to the Complaint. Lanner Electronics, Inc. (“Lanner”) is the parent company of LEI.

(See, ODM Agreement 1st page recital “LEI….through its parent company, Lanner Electronic,

Inc.”.) Doc. 1-2../CM ECF filings/1-2.pdf. Plaintiff made service upon Lanner at Lanner’s place

of business in Canada by the Harris County District Clerk serving the Texas Secretary of State by

certified mail. The Citation issued shows the service address as the same as LEI, being 3160 A,

Orlando Drive, Mississauga, ON L4V 1R5, Canada (Doc. 1-4) ../CM ECF filings/1-4.pdfLanner

is a Taiwanese company with its headquarters and business office in New Taipei City, Taiwan.

Taiwan is not a member of the Hague Convention.

9.         On October 8, 2021, Defendant LEI filed its Notice of Removal to the US District Court,

Southern District of Texas (Doc.1) ../CM ECF filings/1.pdf

10.        A Joint DiscoveryCase Management Plan was timely filed by the parties on January 18,

2022 (Doc. 5)../CM ECF filings/5.pdf

11.        An Agreed Scheduling Order was entered by the Court on January 20, 2022 (Doc. 6).

12.        The parties exchanged documents consistent with F.R. Civ. R. 26 disclosure requirements.

The amount of emails is voluminous10.

13.        Plaintiff designated its expert and timely provided its report to Defendant on September

30, 2022. Defendant designated its expert and provided its report on or about November 17, 2022.

14.        Plaintiff issued Interrogatories and Requests for Production to Defendant LEI on or about

October 9, 2022.



10
     Plaintiff’s initial production was 1,179 bate stamp docs.


                                                             5
        Case 4:21-cv-03306 Document 13 Filed on 07/10/23 in TXSD Page 6 of 11




15.        LEI filed objections and responses to the foregoing discovery request on or about

November 14, 2022. Defendants produced Bate Stamp Nos. LEI 00001-217 on or

about November 15, 2022. In that production, Lanner produced an internal email, such as LEI

000076-77 showing 15 persons within the LEI/Lanner, that were copied in that January 14, 2020

email, as shown below:

          From: Jimmy_Su <jimmy_su@lannerinc com>
          Sent: Tuesday, January 14, 2020 9:29 PM
          To: Dean_Mcarthur <dean_mcarthur@lannerinc com>
          Cc: 'daren khatib' <daren_khatib@lannerinc com>; Gary_Chien
          <gary_chien@lannerinc com>; Ben_Chen <ben_chen@lannerinc com>; Chester_Chung
          <chester_chung@lannerinc com>; Spencer_Chou
          <spencer_chou@lannerinc com>; Tony_Ghchen <tony_ghchen@lannerinc com>;
          Watson_Lee <watson_lee@lannerinc com>; Ap_Chen <ap_chen@lannerinc com>;
          ling_Chen
          <iling_chen_hq@lannerinc com>; Sam_Lee <sam_lee@lannerinc com>; Tom_Howley
          <tom_howley@lannerinc com>; Geoffrey_Egger <geoffrey_egger@lannerinc com>;
          Peter_Nam
          <peter_nam@lannerinc com>; 'vince_leu' <vince_leu@lannerinc com>

16.        This email alone establishes the likelihood of many many more internal emails among the

above LEI and Lanner employees and possibly others. Defendant itself identified many of the

above persons as having knowledge in its initial Disclosure.

17.        Dating back to between November 11, 2022 and November 23, 2022, Plaintiff requested

deposition dates for 5 LEI employees and former employees11, and Defendant’s expert. From

disclosures, some of these witnesses (ex-employees) were not under the control of Defendant, who

would not voluntarily attend the requested depositions, and allegedly reside in Canada. The only

additional witnesses still employed at that time with LEI reside in Taiwan or The Netherlands

(Egger) or California (Terence Chou).




11
     Egger, Khatib, McArthur


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        Case 4:21-cv-03306 Document 13 Filed on 07/10/23 in TXSD Page 7 of 11




18.        As stated in the Joint Discovery Case Management Plan (Doc. 5), given the relationship

between the two Defendants, the primary focus of Plaintiff’s planned discovery evolved around

the interactions between these Defendants during the period of the manufacturing and production

of the Product including the initial design of the Product, the modifications to the Product after the

initial design and shipment to SV, and Defendants efforts, if any, to correct, remedy, repair or

replace the Product’s defects, deficiencies and shortcomings, as reported to Plaintiff by its

customers and, in turn, reported by SV to LEI and Lanner.

19.        The initial Scheduling Order was entered on January 20, 2022. (Doc. No. 6) .

20.        An Agreed Motion to Modify said Scheduling Order was filed on November 3, 2022 with

a Proposed Order. (Doc. Nos. 8, 9). Thereafter, an Agreed Proposed Order amended the

Scheduling Order on November 16, 2022 (Doc. 10) extending the dates to complete discovery to

June 12, 2023, filing of non-dispositive and dispositive Motions by June 19, 202312, and a new

trial date of September 12, 2023.

21.        This Motion to Compel follows the below key discovery dates:

                   a. Deposition of Geoffrey Egger, by remote from The Netherlands on June 1, 2023

                       (postponed by Defendant from the previous week);

                   b. Deposition of Terence Chou, the current Managing Director by remote means

                       from California on June 9, 2023 (postponed by Defendant from the previous

                       week);

                   c. Deposition of Defendant’s designated expert, Gregory Crouse on June 12,

                       2023;




12
     Defendant LEI filed a Motion for Summary Judgment on June 19, 2023 (Doc. 11)


                                                        7
       Case 4:21-cv-03306 Document 13 Filed on 07/10/23 in TXSD Page 8 of 11




 22.    Each of the above persons and dates were requested by Plaintiff long before the actual dates

 shown above, and accommodations were made by the undersigned counsel and counsel for LEI

 to achieve those dates and places by remote means. See emails by and between attorneys, Exhibit

 “E”.

23.     Following the above dates and deponents, LEI took the depositions of Safety Vision

officers and employees on June 13 and June 14, and Plaintiff’s expert on June 15.

24.     Facing deadlines to complete discovery and Defendant’s inability to provide confirmation

of earlier dates, the parties entered into a Rule 11 agreement extending the date to complete

discovery until June 30, 2023. The Rule 11 agreement is attached hereto as Exhibit F.

25.     Other depositions were scheduled for non-party witnesses, and the last one was completed

on June 28, 2023.

                                                        IV.

                                         EXHIBITS TO THIS MOTION

               a) Exhibit A: only 4 internal emails produced by LEI;
               b) Exhibit B- email exchange between attorneys for the parties before June 12, 2023
                   discovery cut-off;
               c) Exhibit C- June 20 email and exchanges thereafter between attorneys in response
                   to request to confer conferences and replies thereto.
               d) Exhibit D- LEI Bate Stamp 155-167 re heat tray defects;
               e) Exhibit E: Email exchange between attorneys re deposition and document
                   production delays;
               f) Exhibit F: Agreement to Extend Discovery until June 30, 2023;
               g) Exhibit G: Safety Vision’s First Requests for Production to Defendant served on
                   October 14, 2022;
               h) Exhibits H and H-1: LEI’S initial Response to the Request for Production dated
                   November 14, 2022, and Supplemental Response dated June 12, 202313 following

13
  Defendant’s Certificate of Service incorrectly states the date as the same date as November 14, 2022. The actual
date was June 12, 2023 as correctly stated in the Supplemental Response to Interrogatories.


                                                         8
        Case 4:21-cv-03306 Document 13 Filed on 07/10/23 in TXSD Page 9 of 11




                   production of voluminous documents (native emails) on or about May 30 and May
                   31, 2023 but not internal email.

27.       The subject of this Motion are SV’s RFP’s Nos, 2, 3, 7, 12 and 16 as stated in Defendant

LEI’s Initial and Supplemental Responses thereto, quoted as follows:


                   RFP No. 2. Produce all materials and documents showing that Defendant
                   interviewed, consulted, discussed, or managed any employee, agent or consultant
                   or other third party after January 1, 2016 and prior to June, 2021 including
                   journals, calendars, notes, logs or other written record by Defendant or Lanner
                   that they performed any review, analysis, inquiry study or recommendations of
                   the Product, including but not limited to “Root Cause Analysis” or “Failure
                   Analysis Report” or “Corrective Action”.

                          RESPONSE14:
                          See correspondence between Plaintiff and Defendant, Bates Labeled SV
                          LEI 1-1179. See also Test reports, attached LEI 00113-LEI 000217.

                          SUPPLEMENTAL RESPONSE15:
                          See also email correspondence produced in native format.

                   RFP No. 3. Produce all emails between Defendant and Lanner Electronics, Inc.
                   (either sent or received by Defendant) that mentions or relates to the ODM
                   Agreement for proposals, alterations, changes or suggestions to the Product or
                   related equipment to be made by Defendant, or by Lanner or its employees,
                   consultants or agents after the date of the ODM Agreement and prior to the filing
                   of this lawsuit.

                          RESPONSE:
                          See correspondence between Plaintiff and Defendant, Bates Labeled SV
                          LEI 1-1179. Defendant continues to search for any additional responsive
                          documents.

                          SUPPLEMENTAL RESPONSE:
                          See also email correspondence produced in native format

          RFP No. 7. Produce documents relating to the terms of actual “repair the defective product
          or part” by LEI as that term and provision is stated in the ODM Agreement.

                          RESPONSE:
                          See LEI 113-217.
14
     Served November 14,2022
15
     Served June 12, 2023


                                                   9
       Case 4:21-cv-03306 Document 13 Filed on 07/10/23 in TXSD Page 10 of 11




           RFP NO. 12. Produce a copy or transcription of all statements, oral or written, between
           LEI and Lanner, including audio or videotape recordings, discussing product failures of
           the Product, whether reported by SV or others.

                            RESPONSE:
                            Objection. Defendant objects to the extent the request is overly broad, not
                            relevant, and not reasonably calculated to lead to the discovery of
                            admissible evidence. Subject to and without waiving the foregoing, see SV
                            LEI 1-1179 and LEI 113-217.

                            SUPPLEMENTAL RESPONSE:
                            See also email correspondence produced in native format

           RFP NO. 16. Produce all contracts or other agreements executed between Defendant and
           any other entity, person or business between 2015 and 2021 that pertain to the same or
           similar parts or supplies utilized by LEI or Lanner in the design and manufacturing of the
           Product with other customers or vendors, including but not limited to Tactical Micro.

                            RESPONSE:
                            Objection. Defendant objects to the extent the request is overly broad, not
                            relevant, and no treasonably calculated to lead to the discovery of
                            admissible evidence.

                            SUPPLEMENTAL RESPONSE:
                            None

28.        Despite the wording of the Response and Supplemental Response, Defendant has not

produced the internal emails as shown above and the documents with its only other USA customer,

Tactical Micro, for a same or similar product during the years 2015-2021. This was learned at the

last deposition on June 28, 2023.of a non-party individual formerly employed by Tactical Micro.

                                                    PRAYER

29.        Plaintiff respectfully requests that Defendant’s objections be overruled and Defendant be

ordered to produce documents responsive to the Request for Production within five (5) days of the

hearing of this Motion16 and for such other relief as the Court deems just and appropriate.



16
     Prior to hearing or a ruling on Defendant’s Motion for Summary Judgment.


                                                         10
    Case 4:21-cv-03306 Document 13 Filed on 07/10/23 in TXSD Page 11 of 11




                                             Respectfully submitted,

                                             /s/Patrick McGettigan
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                                             Mobile (512) 748-8371
                                             pmcgettigan@inhousegc.com

                                             ATTORNEY FOR PLAINTIFF,
                                             SAFETY VISION, LLC




                             CERTIFICATE OF CONFERENCE

        I certify that on May 3, June 20, June 22, June 23, and June 28, Patrick McGettigan, counsel
for Plaintiff, made efforts to resolve this discovery dispute through emails and telephone
conferences with counsel for Defendant LEI The efforts of counsel have not resulted in resolution
of this discovery dispute, and I believe this motion is opposed.



                                                                    /s/Patrick McGettigan
                                                                    Patrick McGettigan



                             CERTIFICATE OF SERVICE

       This is to certify that the foregoing Notice of Deposition was sent by email
notification to the following attorney(s) of record on this the 9th day of July 2023 as
noted below.
                                               /s/Patrick McGettigan
                                               Patrick McGettigan

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                                                11
